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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Deisy Jaimes, et al.
                               Plaintiff,
v.                                                    Case No.: 1:17−cv−08291
                                                      Honorable Jorge L. Alonso
Cook County, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 2, 2019:


        MINUTE entry before the Honorable Sidney I. Schenkier: The motion hearing set
for 4/04/19 regarding plaintiffs' partially unopposed motion to permit more than 10
depositions and extend discovery (doc. #[116]) before the magistrate judge is RESET to
4/03/19 at 9:00 a.m. Mailed notice. (jj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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